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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division
  UNITED STATES, et al.,                         )
                                                 )
                         Plaintiffs,             )
         v.                                      )       No. 1:23-cv-00108-LMB-JFA
                                                 )
  GOOGLE LLC,                                    )
                                                 )
                         Defendant.              )

                           MEMORANDUM OF LAW IN SUPPORT OF
                              PLAINTIFFS’ MOTION TO SEAL

         Pursuant to Local Civil Rule 5, Plaintiffs respectfully submit the instant memorandum of

  law in support of their motion to seal portions Plaintiffs’ memorandum of law in support of

  Plaintiffs’ motion for an adverse inference, and to seal portions or all of exhibits 3-11, 15-16, and

  18-37 attached to the memorandum. The memorandum and exhibits contain information

  designated by Defendant Google as confidential or highly confidential under the parties’

  protective order (Dkt. 203). The unredacted exhibits and the unredacted memorandum have been

  filed electronically using the sealed filing events.

         Pursuant to paragraph 21 of the Protective Order (Dkt. 203), through this motion

  Plaintiffs inform the Court of the confidentiality designations of these materials and requests that

  the Court seal portions of Plaintiffs’ memorandum and exhibits identifying such information, and

  maintain the redacted memorandum on the public docket, in order to provide Google sufficient

  time to provide the Court with support for the need to seal these documents. But for the

  requirements of the Protective Order, Plaintiffs would not seek to seal these documents.




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                                             ARGUMENT

         Public access to judicial records is “protected both by the common law and the First

  Amendment.” Stone v. Univ. of Md. Med. Sys. Corp., 855 F.2d 178, 180 (4th Cir. 1988).

  “The common law presumes a right of the public to inspect and copy ‘all judicial records and

  documents.’” Id. (quoting Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 597 (1978)).

  However, the common law presumption in favor of public access can be overcome by a showing

  that a litigant has “some significant interest that outweighs the presumption.” Rushford v. New

  Yorker Magazine, Inc., 846 F.2d 249, 253 (4th Cir. 1988). Accordingly, before ordering the

  sealing of a document, a district court must “(1) provide public notice of the request to seal and

  allow interested parties a reasonable opportunity to object, (2) consider less drastic alternatives to

  sealing the document[], and (3) provide specific reasons and factual findings supporting its

  decision to seal the document[] and for rejecting the alternatives.” Ashcraft v. Conoco, Inc., 218

  F.3d 288, 302 (4th Cir. 2000); see also Local Civ. R. 5(C).

         Plaintiffs do not believe the information referenced in their memorandum or the exhibits

  are of a type that outweighs the presumption in favor of public access. Nonetheless, because the

  material was designated as confidential or highly confidential by Google, Plaintiffs have filed the

  present motion in accordance with their obligations under paragraph 21 of the Protective Order.

  As stated in the notice filed concurrently with this memorandum, any interested member of the

  public and any other party may indicate their position on the motion.

                                            CONCLUSION

         For the foregoing reasons, Plaintiffs’ respectfully requests that the Court seal portions of

  Plaintiffs’ memorandum and exhibits 3-11, 15-16, and 18-37




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  Dated: August 2, 2024

  Respectfully submitted,

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